

Swift v Lee (2024 NY Slip Op 51565(U))



[*1]


Swift v Lee


2024 NY Slip Op 51565(U)


Decided on November 18, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 18, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570429/24

Joshua E. Swift, Plaintiff-Respondent, 
againstAnn Lee, Defendant-Appellant.




Defendant appeals from an order of the Small Claims Part of the Civil Court of the City of New York, Bronx County (Joaquin E. Orellana, J.), entered February 15, 2024, which denied her motion to vacate a judgment of the same court (Ashlee Crawford, J.), entered December 13, 2023, after trial, in favor of plaintiff and awarding him damages in the principal sum of $2,300.




Per Curiam.
Appeal from order (Joaquin E. Orellana, J.), entered February 15, 2024, dismissed, without costs.
An appellant is obliged to assemble a proper record on appeal including the transcript, if any, of the proceedings (see CPLR 5526; CCA 1704). The pro se appellant's failure to include the transcript of the small claims trial in the record before us renders meaningful appellate review of this matter impossible (see Sebag v Narvaez, 60 AD3d 485 [2009], lv denied 13 NY3d 711 [2009]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: November 18, 2024









